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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division

                                    CASE NO. 16-cv-22254-DPG

  CARMEN & CARLOS RINCON,
      Plaintiffs,
  v.

  MIAMI-DADE COUNTY, et al.,
        Defendants.
  ____________________________/

                      PLAINTIFFS’ RESPONSE IN OPPOSITION TO
                       DEFENDANT OFFICERS’ OBJECTIONS TO
                     MAGISTRATE’S REPORT & RECOMMENDATION

         COME NOW, the Plaintiffs, Carmen and Carlos Rincon, by and through their undersigned

  counsel and pursuant to rule 72(b)(2) of the Federal Rules of Civil Procedure, and hereby file this

  Response in Opposition to the Defendant Officers’ Objections [DE 115] to the Magistrate’s Report

  and Recommendation (the “Report”) [DE 111] on the Defendants’ Motion to Dismiss [DE 99],

  and state:

  I.     Introduction

         1.      On March 22, 2016, Miami-Dade Police received reports of vandalism and property

  damage in Palmetto Bay. Officers, including Defendants Evans, Dalton, Zamorski, and Taborda

  converged on the Rincon home. Armed with nothing more than a possible identification of the

  vandalism suspect and a potential location at the Rincon home—and cavalierly ignoring the

  anguished pleas of the Plaintiffs to be allowed to go into the home to get their son to come out to

  speak with the officers—Evans, Dalton, and Zamorski, without a warrant, without exigent

  circumstances, and without consent, stormed the house and within seconds executed the Plaintiffs’
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  son, Ethan, all over, at most, a property crime. After the cold-blooded shooting, Evans exited the

  house and fabricated an excuse of having been menaced with a pickaxe—a physical impossibility.

         2.      The Plaintiffs brought suit in response, pressing claims against Miami-Dade

  County and against the officers. Specifically, the Plaintiffs brought claims against all Defendants

  for violating the Americans with Disabilities Act (“ADA”), a Monell claim against the County for

  constitutional rights violations, section 1983 claims against the officers for constitutional rights

  violations, and a series of ancillary state-law claims. The Defendants moved to dismiss [DE 99],

  which the Plaintiffs largely opposed [DE 104], although the Plaintiffs withdrew their ADA claims

  against the officers. Magistrate Judge McAliley issued a detailed and thoroughly reasoned Report

  [DE 111].

         3.      The Report recommends dismissal with prejudice of the ADA claims against the

  officers, the section 1983 claim against Taborda, and the state wrongful-death claims against the

  officers based on gross negligence; recommends dismissal without prejudice of the ADA claim

  against the County, the Monell claim against the County, the state-law conspiracy claim against

  the officers, and the state intentional infliction of emotional distress claims against the officers;

  and recommends denying dismissal of the section 1983 claims against the officers other than

  Taborda and the state wrongful-death claims against the officers other than Taborda. The Plaintiffs

  filed no objection to the Report. The County filed no objection to the Report. The officers (other

  than Taborda) objected [DE 115] only to the portions of the Report that recommend denying the

  Motion to Dismiss as to the section 1983 claims and state wrongful-death claims against the

  officers. Because the officers’ Objections suffer the same infirmity—a failure to appreciate what

  may be considered at the motion-to-dismiss stage—as their Motion to Dismiss, the Court should

  accept the Report and reject the Objections.
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  II.     Legal Standards

          4.      The Court determines de novo any part of a magistrate judge’s report and

  recommendation to which objections properly have been interposed. Fed. R. Civ. P. 72(b)(3).

          5.      Rule 8 requires a short and plain statement showing that the claimant is entitled to

  relief. Fed. R. Civ. P. 8. A complaint must contain sufficient factual allegations to present a

  plausible claim. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007). When deciding a

  motion to dismiss, a court must take as true all well-pleaded allegations in the complaint and view

  them and all reasonable inferences in the light most favorable to the plaintiff. Ashcroft v. Iqbal,

  556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 556, 570). At the motion-to-dismiss stage,

  it is the Plaintiffs’ allegations that control.

          6.      Pleadings must be construed liberally, “so as to do justice.” Fed. R. Civ. P. 8(e).

  A complaint “survives a motion to dismiss ‘even if it strikes a savvy judge that actual proof… is

  improbable[] and that recovery is very remote and unlikely.’” Five for Entm’t S.A. v. Rodriguez,

  877 F. Supp. 2d 1321, 1326 (S.D. Fla. 2012) (quoting Twombly, 550 U.S. at 556). Leave to amend

  should be granted freely in the interests of justice. Fed. R. Civ. P. 15(a)(2); 126th Ave. Landfill,

  Inc. v. Pinellas County, 459 F. App’x 896, 897 n.1 (11th Cir. 2012). Leave to amend is

  “particularly appropriate” upon a finding of failure to state a claim. Thomas v. Farmville Mfg.

  Co., 705 F.2d 1307, 1307 (11th Cir. 1983) (citing Griggs v. Hinds Junior College, 563 F.2d 179,

  180 (5th Cir. 1977)). A court should grant leave to amend when the plaintiff’s underlying facts

  may be a proper subject of relief. In re Engle Cases, 767 F.3d 1082, 1108 (11th Cir. 2014). Thus,

  as long as a plaintiff could present a claim for relief, any dismissal should be without prejudice.

          7.      Assertion of entitlement to qualified immunity does not change the standard by

  which a motion to dismiss is to be decided. See Sebastian v. Ortiz, 918 F.3d 1301, 1307 (11th Cir.
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  2019). When qualified immunity is asserted in a motion to dismiss, the motion-to-dismiss standard

  and the qualified-immunity inquiry intertwine. GJR Invs., Inc. v. County of Escambia, 132 F.3d

  1359, 1366 (11th Cir. 1998). The Court must still accept as true the Plaintiffs’ facts and view them

  in the light most favorable to and drawing all reasonable inferences in favor of the Plaintiffs. See

  Sebastian, 918 F.3d at 1307 (citing St. George v. Pinellas Cty., 285 F.3d 1334, 1337 (11th Cir.

  2002)); Robinson v. Arrugueta, 415 F.3d 1252, 1256 (11th Cir. 2005) (court analyzing qualified

  immunity must do so “[w]ith the plaintiff’s best case in hand”). Review of a motion to dismiss,

  including one asserting qualified immunity, is limited to the four corners of the operative

  complaint. St. George, 285 F. 3d at 1337 (citing Grossman v. Nationsbank, N.A., 225 F. 3d 1228,

  1231 (11th Cir. 2000)).

         8.      Qualified immunity may provide a defense to governmental officials sued in their

  individual capacities. E.g., Mercado v. City of Orlando, 407 F.3d 1152, 1156 (11th Cir. 2005). In

  section 1983 actions, qualified immunity protects governmental employees from suit only when

  “‘their conduct does not violate clearly established rights of which a reasonable person would have

  known.’” Lewis v. City of W. Palm Beach, 561 F.3d 1288, 1291 (11th Cir. 2009) (quoting Harlow

  v. Fitzgerald, 457 U.S. 800, 818 (1982)). To claim qualified immunity, a defendant must show

  that, at the time of the conduct in question, he or she was engaged in a discretionary duty. Mercado,

  407 F.3d at 1156 (citing Holloman v. Harland, 370 F.3d 1252, 1264 (11th Cir. 2004)). Upon such

  showing, the burden then shifts to the plaintiff to demonstrate that qualified immunity is not

  appropriate. Id. (citing Courson v. McMillian, 939 F.2d 1479, 1487 (11th Cir. 1991)). The

  qualified-immunity analysis at the motion-to-dismiss stage is a two-part inquiry. The questions to

  be answered are: “(1) whether the facts alleged… show that the officer’s conduct violated a

  constitutional right, and (2) whether, under the facts alleged, there was a violation of clearly
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  established law.” Williams v. Santana, 340 F. App’x 614, 616-17 (11th Cir. 2009) (quoting

  Pearson v. Callahan, 555 U.S. 223, 236 (2009)) (internal quotation marks omitted).

  III.   Argument: The Magistrate’s Report and Recommendation Should Be Accepted

         9.      The primary flaw in the officers’ Objections mirrors the fundamental error in the

  Motion to Dismiss. The officers ignore the stage of the proceedings and the standards that apply.

  The officers attempt to add their own facts and to entice the Court into failing to take as true the

  Plaintiffs’ allegations and to view them in the light most favorable to the Plaintiffs. The officers

  strive mightily to convince the Court that Ethan Rincon menaced the officers with a pickaxe.

  (Objections [DE 115] at 1-2, 3, 4.) However, the Fourth Amended Complaint does not allege that

  Ethan wielded or even held a pickaxe; in fact, it alleges that Ethan could not have brandished a

  pickaxe in any threatening manner and posed no danger at all. (4th Am. Compl. [DE 96] ¶¶ 19,

  22, 26, 47, 49-51, 94.) Similarly, the officers contend that they had to make a split-second decision.

  (Objections [DE 115] at 3.) Such an allegation is not to be found in the Fourth Amended

  Complaint. The Plaintiffs allege that the officers—investigating simple property damage—arrived

  at the Rincon home and had ample time for deliberation: the officers were able to speak with (and

  ignore) the Plaintiffs; the officers had time to decide to storm the home in the investigation of a

  property crime, without a warrant, without exigent circumstances, and without consent; faced with

  no threat to their safety, the officers nonetheless decided to kill Ethan. (4th Am. Compl. [DE 96]

  ¶¶ 18, 20, 22, 24-27, 35-36, 39.) At the motion-to-dismiss stage, the officers are not at liberty to

  supply, and the Court is not at liberty to entertain, their own factual allegations. See Sebastian,

  918 F.3d at 1307; St. George, 285 F.3d at 1337; GJR Invs., 132 F.3d at 1366.

         10.     According to the officers, the Report errs in crediting what the officers term the

  Plaintiffs’ speculative allegations, for which, the officers protest, the Plaintiffs lack a basis for
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  knowledge. (Objections [DE 115] at 3.) The officers specifically complain that the Plaintiffs had

  no basis for their allegation that Ethan was in the home alone. (Id.) Although the officers

  prevented the Plaintiffs from entering their own home, the Plaintiffs were there, at the house. The

  officers stormed in and came out; only one body was removed from the house: Ethan’s. For the

  officers to claim or insinuate that there was anyone else in the house is the height of mendacity.

  Moreover, any factual allegation not found in the Fourth Amended Complaint may not be

  considered on a motion to dismiss.

         11.     The officers likewise take issue with the Plaintiffs’ allegation that Ethan posed no

  danger to anyone and could not have wielded a pickaxe in any menacing fashion, arguing again

  that the Plaintiffs, who were not inside the house, lacked a basis for knowledge. (Id. at 3-4.) The

  Plaintiffs lived in the house; they knew the house. They were familiar with the layout of the house.

  Moreover, the Plaintiffs allege that a reconstruction of the scene was performed (4th Am. Compl.

  [DE 96] ¶¶ 49-50), providing yet more foundation for the Plaintiffs’ knowledge regarding the

  allegations they made.

         12.     Continuing their attack on the Report, the officers argue that the Magistrate erred

  in failing to acknowledge that, in Perez v. Suszczynski, 809 F.3d 1213 (11th Cir. 2016), record

  evidence showed that the deceased was no longer in possession of a weapon at the time of the

  shooting. (Objections [DE 115] at 4.) The officers again fail to understand that the case sub judice

  is at the motion-to-dismiss stage. There is no record evidence. Perez was an appeal of a denial of

  summary judgment. 809 F.3d at 1216. The Report merely quotes Perez for the holding that the

  presence of a weapon, alone, does not preclude a claim for excessive force. (Report [DE 111] at

  16.) As the Report indicates, the reasonableness of a use of force depends on the totality of the

  circumstances. (Id. (quoting Shaw v. City of Selma, 884 F.3d 1093, 1099 (11th Cir. 2018).) The
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  officers would have the Court rely on the officers’ version of events via allegations outside the

  complaint. That, of course, the Court may not do.

          13.     The officers seize upon Shaw, contending that the Magistrate misapplied the

  holding therein. (Objections [DE 115] at 4-5.) The Report does not misapply Shaw. All the

  Report does is cite to Shaw for the undeniable truth that reasonableness is to be measured by

  examining the totality of the circumstances. The officers would distinguish the facts of Shaw,

  alleging that, in Shaw, the police had more room for tactical maneuver than did the officers here.

  (Id.) The location of the incident in Shaw outdoors in daylight does not change the procedural

  posture of the instant matter. The Plaintiffs allege that Ethan could not have posed a danger to the

  officers; they base their allegations on their knowledge of the home and a reconstruction of the

  scene. The officers’ version of events, for present purposes, simply is irrelevant. It would be error

  to consider and credit the officers’ allegations or to indulge in any inferences in the officers’ favor.

  The Magistrate’s reasonable inference, based on the Plaintiffs’ allegations and made at the motion-

  to-dismiss stage, that the officers were not in danger because Ethan was at least 5 to 6 feet from

  them when they executed him is not, as the officers object, directly at odds with Shaw. (Id. at 5.)

  The Magistrate’s inference (Report [DE 111] at 14-15) is precisely what Shaw and the motion-to-

  dismiss standard command. Taking into account the totality of the circumstances presented by the

  allegations found in the Fourth Amended Complaint, the Magistrate made a reasonable inference

  in the Plaintiffs’ favor.

          14.     As to the Magistrate’s recommendation denying dismissal of the state-law wrongful

  death claims, the officers advance no independent arguments. The officers rest on their arguments

  for qualified immunity. (Objections [DE 115] at 6.) Because the Plaintiffs have responded to the

  officers’ qualified immunity arguments, they similarly rest on such responses.
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  IV.    Conclusion

         15.    The Magistrate painstakingly crafted a thorough Report and Recommendation,

  following carefully the standard that applies when deciding motions to dismiss. The officers,

  disgruntled that the Magistrate recommends denying qualified immunity at this stage, advance no

  winning arguments. The Report and Recommendation should be accepted in full.

  Dated May 28, 2020                         Respectfully submitted,
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